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                     UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                CHAPTER 13 PLAN (Individual Adjustment of Debts)

                                                                                        CASE NO.: 10-19894-LMI

                                                 Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                       1st           Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR: Fernando Montes                                                         CO-DEBTOR: Xiomara Frometa
Last Four Digits of SS# xxx-xx-5243                                             Last Four Digits of SS# xxx-xx-5245

 This document is a plan summary. Additional data on file in clerk’s office attached to original plan.

MONTHLY PLAN PAYMENT: Including trustee’s fee not to exceed 10% and beginning 30 days from filing/conversion date,
Debtor(s) to pay to the trustee for a period of 36      months: In the event the Trustee does not collect the full 10%, any portion not
collected will be paid to creditors’ pro-rata under the plan:
              A.        $ 236.27         for months 1         to 35 ;
              B.        $   43,156.73                 for months          36      to_36_____;
              C.        $                  for months                to          in order to pay the following creditors:

Administrative:             Attorney’s Fee      $ 3,750.00 + $500.00 (Motion to Value) = $4,250.00
                            TOTAL PAID          $2,500.00
                            Balance Due         $ 1,750.00    payable $ 50.00 month (Months        1           to 35 )

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. § 1325 (a)(5)] Mortgages(s)/Liens on Real or Personal Property:

1. n/a                                                   Arrearage on Petition Date $
Address                                                  Arrears Payment $             /month (Months                to      )
                                                         Arrears Payment $             /month (Months                  to     )
                                                         Regular Payment $            /month (Months                  to     )

2.                                                       Arrears Payment        $ _______
                                                         Arrears Payment        $         /month (Months          to     )
____________________________________                     Regular Payment        $         /month (Months         to      )
                                                         Arrears Payment         $         /month (Months        to     )

          IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
          YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION (UTILIZING LOCAL FORM MOTION TO
          VALUE COLLATERAL IN PLAN) WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 and LR 3015-3.

                                        Value of           Rate of                                                                Total Plan Payments
         Secured Creditor                                                       Plan Payments         Months of Payments
                                        Collateral         Interest
 Bank of America
 Loan No. 68218002209499                $150,551.00            0%                    N/A                       N/A                       N/A
 Prop Add: 3187 W 69th Pl
 Miami, FL 33018


Priority Creditors: [as defined in 11 U.S.C. §507]

1. n/a                                          Total Due $
                                                Payable $                 /month (Months        to   )

Unsecured Creditors: Pay $ 162.64 month (Months            1        to    35   ). Pay $38,841.06 (Months 36 to 36)

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above :The debtors are paying Saxon Mortgage directly outside the plan. The debtors will modify their chapter
13 plan to provide for the distribution of funds recovered from their pending lawsuit, which are not exempt to the unsecured creditors.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

/s/ Robert Sanchez, Esq.                                                                /s/ Robert Sanchez, Esq.
Attorney for debtor                                                                     Attorney for co-debtor
Date: 04/24/2015                                                                        Date: 04/24/2015
